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                         IN THE UNITED STATES DISTRICT COURT
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                                 FOR THE DISTRICT OF ARIZONA
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 9   United States of America,                           CR-14-00191-PHX-DGC
10                       Plaintiff,                    ORDER TO DISMISS WITH
11           vs.                                            PREJUDICE
12   1. Marc Turi, and
     2. Turi Defense Group,
13
                         Defendants.
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15         Based upon the Joint Motion to Dismiss with Prejudice agreed upon by the parties,
16   and good cause appearing;
17         IT IS ORDERED that the above-captioned matter be dismissed with prejudice;
18         IT IS FURTHER ORDERED that any release conditions previously imposed be
19   immediately terminated.

20         Dated this 4th day of October, 2016.
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28   cc:AUSA/Defense/PTS/USMS
